                                UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

 UNITED STATES OF AMERICA                          )
                                                   )
                                                   )   Case No. 3:09-CR-00047-1
 v.                                                )   CHIEF JUDGE CRENSHAW
                                                   )
 ADRIAN DEWAYNE PATTERSON                          )


 DEFENDANT’S REPLY TO GOVERNMENT’S RESPONSE TO HIS MOTION FOR A
         SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)

       Adrian Patterson replies to the government’s response to his motion to reduce his life

sentence based on extraordinary and compelling reasons. In its response, the government never

claims there is any penological justification for Patterson serving a life sentence. And, although

the government responds at length to Patterson’s argument for eligibility under U.S.S.G.

§ 1B1.13(b)(6), it has very little to say about his eligibility under § 1B1.13(b)(5). In this reply,

Patterson will address § 1B1.13(b)(5) first, which is an independent ground for eligibility, and

second he will address the more complex legal issue presented by § 1B1.13(b)(6). Finally, he

will briefly address the § 3553(a) factors, which the government seems to concede fail to justify

a sentence as long as life.

1.     Patterson is eligible for relief for “other reasons” pursuant to § 1B1.13(b)(5).

       As the gatekeeper for 18 U.S.C. § 3582(c)(1) relief, the Bureau of Prisons (BOP) has

long had the authority to find a prisoner eligible for relief based on “other reasons” that were not

otherwise specified by the policy statement. U.S.S.G. § 1B1.13 cmt. n.1(D) (2016). By giving

that same gatekeeper role to the courts in 2018, Congress has given the courts the same authority

to determine what “other reasons” amount to grounds for § 3582(c)(1) eligibility.




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       The government does not deny that fact. Rather, it argues the Court should disregard each

of Patterson’s three reasons which he argues collectively amount to sufficient “other reason” to

find him eligible. (Gov’t Response, R.654, PageID# 7808-10.) Patterson responds to the

government’s critique of each reason.

       A.      The DOJ has now rejected using § 851 to impose a trial tax.

       As the government implicitly acknowledges, Attorney General Garland has renounced

the DOJ’s former use of § 851 enhancements to procure guilty pleas and, failing that, to impose a

“trial tax” that was sometimes unconscionably harsh. United States v. Kupa, 976 F. Supp. 2d

417, 419-20, 436, 448-49, 460 (E.D.N.Y. 2013) (describing the former practice). Further, the

government implicitly acknowledges that Patterson fell victim to that now-renounced practice as

the prosecutor pursued mandatory life after having offered to settle the entire case for 17 years.

Patterson incurred a life-sentence trial tax that the DOJ would not impose today.

       The government makes two arguments against considering this fact. First, it attacks a

strawman, asking simply if the Garland memo “confer[s] any enforceable rights for a defendant

or litigant against the United States?” (Gov’t Response, R.654, PageID# 7809.) The answer to

that question is “no” since the memo expressly bars direct enforceability. Thus, a defendant

cannot move to dismiss a § 851 notice on the ground that the notice is unauthorized by the

Garland memo. But notwithstanding that bar against direct enforceability, the Garland memo

does exist and it does have effect. Even the case cited by the Garland memo regarding

nonenforceability says that “‘[w]here the rights of individuals are affected, it is incumbent upon

agencies to follow their own procedures.’” United States v. Caceres, 440 U.S. 741, 751 n.14

(1979) (quoting Morton v. Ruiz, 415 U.S. 199, 235 (1974)). Directly enforceable or not, the

Garland memo did in fact renounce the DOJ’s former § 851 practice, and it is affecting




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sentencing today. The Court can recognize that historical fact—that changed circumstance—just

as it can recognize, for example, that a prisoner has become terminally ill.

       Second, the government says if the Court considers this policy change in a § 3582(c)(1)

analysis it would “all but destroy the principle of finality that undergirds federal criminal law,”

as if considering a policy change would give courts license to reduce sentences at the drop of a

hat. (Gov’t Response, R.654, PageID# 7810.) That is an overstatement. When assessing “other

reasons” the Court looks at the whole “combination of circumstances” presented by the

defendant’s situation. U.S.S.G. § 1B1.13(b)(5). Here, that combination of circumstances is

extraordinarily compelling. That is so because three things are true about Patterson’s case:

       1.      Patterson’s § 851 trial tax was extreme, a life sentence. As explained already, life

               sentences are very rare, especially for nonviolent drug trafficking. Thus, Patterson

               presents the most extreme example of this kind of case.

       2.      The DOJ’s § 851 trial tax policy was the only reason Patterson got this life

               sentence. Had he accepted the plea bargain, it appears his total sentence would

               have been 17 years.

       3.      Today, the government does not even try to argue Patterson might possibly

               deserve a life sentence. (Gov’t Response, R.654, PageID# 7811-13 (arguing only

               that a sentence of “time served” would be too short to satisfy § 3553(a).)

       In light of these three facts, it is perfectly clear that the only reason Patterson is serving a

life sentence is the former § 851 trial-tax policy, and that today that policy has been renounced

due to the institutional realization that, as former Judge Gleeson set forth, the old way of doing

things sometimes generated sentences that “should instill shame in all of us.” Kupa, 976 F. Supp.

2d at 449, 460. The government does not deny any of this. This extraordinary set of




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circumstances makes the change in the trial-tax policy highly relevant to a § 3582(c)(1)

assessment.

       B.      Patterson, with his life sentence, remains in prison while more or equally
               culpable co-conspirators have been released.

       The government does not deny that there is a gross disparity between Patterson’s life

sentence and both (1) the 48- and 70-month sentences that much-more-culpable-yet-cooperating

codefendants received (Bassim Fardos and Robert Bell), and (2) the 20-year sentence that the

similarly-situated John Banks received. There is no valid justification for Patterson being the

only conspirator condemned to life in prison.

       The government does point out that, according to pre-McCall precedent, “facts that

existed at sentencing cannot later be construed as ‘extraordinary and compelling reasons’ to

reduce a final sentence.” United States v. Hunter, 12 F.4th 555, 570 (6th Cir. 2021). (See Gov’t

Response, R.654, PageID# 7809 (citing Hunter).) Although disparity with the codefendants’

sentences normally is known to exist at the time of sentencing, here the extent of that disparity

was not fully known, since John Banks has been released early to the halfway house, making the

unfairness of Patterson’s sentence even starker.

       Plus, Hunter is in tension with the Sentencing Commission’s view of “extraordinary and

compelling reasons” as stated in its new policy statement. That policy statement says “the fact

that an extraordinary and compelling reason reasonably could have been known or anticipated by

the sentencing court does not preclude consideration for a reduction” under § 3582(c)(1).

U.S.S.G. § 1B1.13(e). And the example used by the Commission in its Reason for Amendment is

clearly contrary to Hunter since one eligibility consideration was the defendant’s extreme youth

at the time of the offense. (See Def. Mot., R.650, PageID# 7669 (quoting Reason for




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Amendment).) For the same reasons given infra pp. 7 to 10, the new policy statement supplants

Hunter on this point.

        Fardos and Bell amassed fortunes from trafficking drugs; Patterson and Banks, who

played essentially the same role, were just scraping by. It is patently unjust that Patterson got a

life sentence and the other three are already on the streets. This fact exacerbates the stark

injustice already described above, and it should be considered a compelling factor.

        C.      Patterson’s conduct in prison has been completely admirable.

        The government says it “has no reason to doubt” that Patterson’s rehabilitation has been

superlative. (Gov’t Resp., R.654, PageID# 7810.) Indeed, Patterson has proven that fact by his

consistent good conduct year after year, as well as his earnest efforts to be a good father from

prison. Responding to this fact, the government merely points out that “[r]ehabilitation of the

defendant alone shall not be considered an extraordinary and compelling reason” for a reduction.

28 U.S.C. § 994(t). But it is also true that “rehabilitation of the defendant while serving the

sentence may be considered in combination with other circumstances” in determining “whether”

to reduce his sentence. U.S.S.G. § 1B1.13(d). See e.g., United States v. Hebel, No. 11-cr-20320-

1, 2021 U.S. Dist. LEXIS 245230, *6 (E.D. Mich. Dec. 23, 2021) (“[W]hen combined with the

above, Defendant’s excellent rehabilitation supports a finding of extraordinary and compelling

reasons for her release.”); United States v. McClurg, No. 3:12-cr-112-TAV-JEM-1, 2022 U.S.

Dist. LEXIS 194139, *15 (E.D. Tenn. Oct. 25, 2022) (stating rehabilitation “can be considered in

combination with other circumstances” to find eligibility for a reduction). Thus, Patterson’s

superlative rehabilitation is a significant development that can materially contribute to finding

him eligible for relief.




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       D.          The combination of these circumstances amounts to an “other reason.”

       The touchstone is “gravity.” U.S.S.G. § 1B1.13(b)(5). Do these circumstances amount to

a reason “similar in gravity”—even if perhaps dissimilar in “nature”—to the enumerated grounds

for § 3582(c)(1) relief? U.S.S.G. App. C, Amend. 814, Reason for Amendment (Nov 1, 2023).

Although the government suggests these reasons are not similar in gravity, it really talks only

about their nature, not their gravity. (R.654, PageID# 7809.)

       Gravity should be assessed as follows. According to the government, the “archetyp[ical]”

example of sufficiently grave circumstances is when an inmate—even one sentenced to life

imprisonment 1—becomes terminally ill. (Id. PageID# 7802.) Why should that changed
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circumstance be a sufficiently grave reason for a reduction even though a terminal diagnosis is

fairly common in the course of an entire lifetime? Because the changed circumstance makes it

perfectly clear that service of the complete sentence will serve no legitimate penological purpose,

but instead is needlessly cruel. See generally Graham v. Florida, 560 U.S. 48, 71 (2010)

(discussing criteria for finding a sentence unconstitutionally cruel and stating a “sentence lacking

any legitimate penological justification is by its nature disproportionate to the offense.”).

Likewise, here the changed circumstances discussed above have made it perfectly clear

Patterson’s life sentence serves no legitimate penological purpose. Today, now that imposing an

§ 851 trial tax of “life” is unacceptable and now that Patterson has proven himself a model

prisoner for so many years in a row, it is perfectly clear his life sentence is needlessly cruel.

Section 3582(c)(1)’s safety valve allows this Court to reduce it.




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 See, e.g., United States v. Walls, No. 92-80236, 2022 U.S. Dist. LEXIS 29257, *3 (E.D. Mich.
Feb. 23, 2018) (government moved for § 3582(c)(1) reduction for 75-year-old defendant who
had served 22 years of a life sentence because he was suffering from Parkinson’s disease, heart
disease, sciatica, and osteoarthritis).


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II.    Patterson is also eligible for relief under § 1B1.13(b)(6).

       With respect to § 1B1.13(b)(6)’s “unusually long sentence” provision, the government

accepts that Congress “delegated” to the Sentencing Commission the task of saying, through a

policy statement, “what qualifie[s] as ‘extraordinary and compelling.’” United States v. McCall,

56 F.4th 1048, 1053 (6th Cir. 2022) (en banc). The government also accepts that the

Commission’s policy statement at § 1B1.13 has the binding force of law and that is entitled to

substantial deference. But the government basically asserts two things contrary to Patterson’s

position: (1) that McCall foreclosed subsection (b)(6); and, (2) even if not foreclosed by McCall,

subsection (b)(6) is such an unreasonable implementation of the “extraordinary and compelling

reasons” clause that it is invalid. Patterson addresses those assertions in turn.

       A.      McCall has not foreclosed § 1B1.13(b)(6).

       Granted, in McCall the en banc Sixth Circuit held, based on its interpretation of

§ 3582(c)(1), that “[n]onretroactive legal developments, considered alone or together with other

factors, cannot amount to an ‘extraordinary and compelling reason’ for a sentence reduction.” 56

F.4th at 1065-66. According to the government, the Sentencing Commission lacks the

“[a]uthority to [o]verride” that interpretation of § 3582(c)(1). (Gov’t Response, R.654, PageID#

7793.) To support its argument, it repeatedly cites Nat’l Cable & Telecomms Ass’n v. Brand X

Internet Servs., 545 U.S. 967 (2005), which says “a court’s prior interpretation of a statute [can]

override an agency’s interpretation only if the relevant court decision held the statute

unambiguous.” Id. at 984. There are two main flaws in the government’s argument.

       First, the most obvious flaw is that McCall did not “h[o]ld the statute unambiguous.” Id.

When McCall interpreted § 3582(c)(1), there was no binding policy statement demanding

deference, and so the McCall court acknowledged courts like it were free to “define




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‘extraordinary and compelling’ without reference to the Sentencing Commission’s guidance.” 56

F.4th 1054. Because the McCall court was not required to determine the unambiguous meaning

of § 3582(c)(1) to determine the outcome of the case, its holding did not determine

§ 3582(c)(1)’s unambiguous meaning. See United States v. McMurray, 653 F.3d 367, 375 (6th

Cir. 2011) 2 (“Because the statement in Benton . . . . was not necessary to the outcome in that
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case, it is dicta that is not binding.”). That is so even though McCall said it wasn’t necessary to

consult legislative history since there was “no such ambiguity” in § 3582(c)(1) because McCall

did in fact consult the legislative history and because its passing conclusion about ambiguity had

no effect on the outcome. Id.; see also Wright v. Spaulding, 939 F.3d 695, 701 (6th Cir. 2019)

(“[A] conclusion that does nothing to determine the outcome is dictum and has no binding

force.”) (emphasis in original)).

       Moreover, the McCall court itself recognized it was not deciding whether the Sentencing

Commission’s anticipated policy statement on “extraordinary and compelling reasons” would be

valid if contrary to the court’s own interpretation. McCall, 56 F.4th at 1055 n.3 (saying that

“[w]hether the Commission could issue a new policy statement that describes ‘extraordinary and

compelling reasons’ in a way that is inconsistent with our interpretation of the statute’s language

is a question that we need not resolve” presently). But for a court’s conclusion to have binding

force, “it must be clear that the court considered the issue and consciously reached a conclusion

about it.” see Wright, 939 F.3d at 701. Because the McCall court consciously stopped short of

deciding the question at issue today, it cannot be deemed to amount to a holding regarding the




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 This case was overruled on other grounds by United States v. Verwiebe, 874 F.3d 258, 262-64
(6th Cir. 2017), but later vindicated by Borden v. United States, 141 S. Ct. 1817 (2021), which
overruled Verwiebe.


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unambiguous meaning of § 3582(c)(1). And, thus, McCall’s “prior interpretation of [the] statute”

cannot “override [the] agency’s interpretation” of it. Brand X, 545 U.S. at 984.

       Second, the government’s treatment of administrative-law authorities is inconsistent. The

government acknowledges that this case is not governed by Chevron, U.S.A., Inc. v. NRDC, Inc.,

467 U.S. 837 (1984) because Congress expressly, rather than “only implicitly,” delegated to the

Commission with the power to say what amounts to an “extraordinary and compelling reason”

under § 3582(c)(1). (Gov’t Resp., R.654, PageID# 7791.) Yet it repeatedly cites Chevron cases

as if they governed, as it cites Brand X, supra, and Mayo Found. for Med. Educ. & Research v.

United States, 562 U.S. 44 (2011), both of which are Chevron cases. 3 The governing standard
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comes not from Chevron but from Batterton v. Francis, 432 U.S. 416 (1977), which the

government seems to admit. (Gov’t Response, R.654, PageID# 7792 (citing Batterton).)

Batterton says the following about deference when an agency is expressly delegated the power to

say what a statute means:

       Ordinarily, administrative interpretations of statutory terms are given important but not
       controlling significance. . . . [But here] Congress in § 407(a) expressly delegated to the
       Secretary the power to prescribe standards for determining what constitutes
       “unemployment” for purposes of AFDC-UF eligibility. In a situation of this kind,
       Congress entrusts to the Secretary, rather than to the courts, the primary responsibility for
       interpreting the statutory term. In exercising that responsibility, the Secretary adopts
       regulations with legislative effect. A reviewing court is not free to set aside those
       regulations simply because it would have interpreted the statute in a different manner.




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  The government does cite two non-Chevron cases involving the Sentencing Commission, but
both are plainly inapposite. In United States v. LaBonte, 529 U.S. 751 (1997), the Commission’s
guideline was held invalid because the Commission violated an express direction from Congress
in its enabling statute, 28 U.S.C. § 994(h). Here, the Commission is certainly acting consistently
with the enabling statute, § 994(t), since that provision tells it to issue policy statements like
§ 1B1.13. In Neal v. United States, 516 U.S. 284 (1996), the Commission issued a guideline that
operated independently of the statutory provision in question, and the Commission did not even
intend for its guideline to displace the courts’ interpretation of the statute. Id. at 293. Only the
litigant tried (erroneously) to give the guideline such significance. Id.


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       The regulation at issue in this case is therefore entitled to more than mere deference or
       weight. It can be set aside only if the Secretary exceeded his statutory authority or if the
       regulation is “arbitrary, capricious, an abuse of discretion, or otherwise not in accordance
       with law.”

Batterton, 432 U.S. at 425-26 (emphasis in original).

       Here, the Sentencing Commission—not the courts—has “primary responsibility” for

interpreting § 3582(c)(1). Id. at 425. The Sixth Circuit has not held that the Commission’s

exercise of that primarily responsibility was arbitrary or capricious or otherwise unlawful. Nor

did it purport to apply a Batterton standard. The validity of the Commission’s interpretation of

§ 3582(c)(1) presents an open question for the courts. And, as long as the Commission’s

interpretation of the “extraordinary and compelling reasons” is within the realm of reason, it is a

valid exercise of policy making power, which the courts must accept.

       B.      Section 1B1.13(b)(6) is a valid exercise of the Sentencing Commission’s
               authority.

       The government claims that § 1B1.13(b)(6) does not accord with § 3582(c)(1)(A), based

on the notion that the words “extraordinary and compelling” are incapable of encompassing

circumstances that include a legal change—as a matter of § 3582(c)(1)(A)’s plain text, structure,

and purpose. But § 3582(c)(1)(A)’s text (“extraordinary and compelling”) is broad and inclusive.

And § 1B1.13(b)(6) is entirely consistent not only with this text but also with the statute’s

structure and context: Congress enacted § 3582(c)(1)(A) to serve as a safety valve within the

Sentencing Reform Act, and delegated to the Sentencing Commission the task of determining the

sorts of circumstances to which it could apply. Further, § 1B1.13(b)(6) also serves both the

broader purposes of the Sentencing Reform Act and the statutorily defined purposes and duties

of the Sentencing Commission.




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               1.      Section 1B1.13(b)(6) does not conflict with § 3582(c)(1)(A)’s text.

       The “preeminent canon of statutory interpretation” holds that “the legislature says in a

statute what it means and means in a statute what it says there.” BedRoc Ltd. v. United States,

541 U.S. 176, 183 (2004) (cleaned up). Section 3582(c)(1)(A)’s text uses broad, adaptable

language for its threshold standard for sentence reduction: “extraordinary and compelling

reasons.” It also requires that any reduction be “consistent with applicable policy statements

issued by the Sentencing Commission.”

       In the same Act that created § 3582(c)(1)(A), Congress directed the Commission to

promulgate “policy statements regarding . . . the appropriate use of . . . the sentence modification

provisions set forth in 3582(c).” 28 U.S.C. § 994(a)(2)(C). And Congress instructed the

Commission to “describe what should be considered extraordinary and compelling reasons for

sentence reduction, including the criteria to be applied and a list of specific examples.” 28 U.S.C.

§ 994(t). The only limitation Congress placed on the Commission is that “[r]ehabilitation of the

defendant alone shall not be considered an extraordinary and compelling reason.” Id.

       Putting these together, the text of § 3582(c)(1)(A) and 28 U.S.C. § 994 place no

categorical prohibitions on the Commission’s description of what should be considered

“extraordinary and compelling,” other than that “rehabilitation . . . alone” cannot justify a

sentence reduction. The Commission expressly incorporated this prohibition into its policy

statement, ensuring that courts must respect Congress’ limitation. § 1B1.13(d).

                       a.      Nothing about the words “extraordinary and compelling”
                               excludes circumstances that are related to legal changes.

       “Extraordinary” and “compelling” afford the Commission significant discretion in setting

policy. These terms are not unbounded; using the government’s cited definitions, they

encompass only circumstances that are both “most unusual,” “far from common,” or “having



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little or no precedent,” and also that compel—force, impel, drive—a court to reduce the sentence.

But nothing about “extraordinary and compelling” limits the circumstances that § 3582(c)(1)(A)

covers to the sorts of health- and age-related matters that would be covered by a traditional

“compassionate release” statute. U.S.S.G. App. C, Amend. 814, Reason for Amendment (Nov 1,

2023) (explaining that § 3582(c)(1)(A) has come to be known as “compassionate release,”

although that phrase appears nowhere in the SRA). And just the same, nothing about those terms

excludes, as a category, legal changes as they might relate to a constellation of circumstances

warranting a sentence reduction. See Kemp v. United States, 142 S. Ct. 1856, 1865 (2022)

(Sotomayor, J., concurring) (explaining in the Fed. R. Civ. P. 60(b)(6) context that

“extraordinary circumstances” include “a change in controlling law”).

       The government argues that a legal change that applies only prospectively, like section

401 of the First Step Act, is incapable of contributing to “extraordinary and compelling reasons”

for a sentence reduction because prospective application of new laws is the norm. (R.654,

PageID# 7796.) But no one claims that all—or most or even a significant percentage of—

circumstances related to legal changes could be characterized as “extraordinary and compelling.”

The Third Circuit was not wrong when it said that it was “conventional” for Congress to apply

new penalties only to those not yet sentenced. (See R.654, PageID# 7798 (citing United States v.

Andrews, 12 F.4th 255, 261 (3d Cir. 2021)).)

       Still, some legal changes can be “extraordinary,” and circumstances relating to them can

be “compelling.” Beyond Justice Sotomayor’s recent recognition in another context that a

“change in controlling law” could be “extraordinary” (cited above), consider this: The Supreme

Court interprets the Constitution regularly, and has for generations. So, theoretically, one could

say that there is nothing “extraordinary” about a new opinion interpreting the Constitution. But




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one could not seriously argue that the Court’s decision in Brown v. Board of Education, 347 U.S.

483 (1954), was not extraordinary, or that the circumstances of some individuals whose lives

were touched by Brown were not compelling. Again, the terms “extraordinary” and

“compelling,” as a matter of plain English, do not exclude categories; they require an assessment

of particular circumstances.

       Indeed, at least four courts of appeal have held in the § 3582(c)(1)(A) context that

“extraordinary and compelling” is capable of encompassing some circumstances relating to some

legal changes. United States v. Trenkler, 47 F.4th 42 (1st Cir. 2022); United States v. McCoy,

981 F.3d 271 (4th Cir. 2020); United States v. Chen, 48 F.4th 1092 (9th Cir. 2022); United States

v. McGee, 992 F.3d 1035 (10th Cir. 2021). This number is arguably five: the Second Circuit in

United States v. Brooker, 976 F.3d 228, 234 (2d Cir. 2020), held that district courts could

“consider the full slate of extraordinary and compelling reasons that an imprisoned person might

bring before them in motions for compassionate release,” and has not imposed any categorical

prohibitions. United States v. Watts, 2023 WL 35029, *7 (E.D.N.Y Jan.4, 2023) (collecting cases

within Second Circuit reducing sentences where the defendant’s original sentence would be

lower under First Step Act amendments). These opinions came out of the period after Congress

authorized defendants to file their own § 3582(c)(1)(A) motions, but before the Sentencing

Commission had amended § 1B1.13 to account for that, when every circuit but the Eleventh had

held that the old § 1B1.13 did not apply to defendant-filed motions. See United States v. Bryant,

996 F.3d 1243, 1259–62 (11th Cir. 2021). During this period, circuit courts provided their own

guidance regarding the phrase “extraordinary and compelling.”

       As discussed above (Section II.A), the government emphasizes that in McCall the Sixth

Circuit held that legal changes could not factor into the “extraordinary and compelling” analysis.




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But for the reasons given above, McCall did not decide the present question. Accordingly,

notwithstanding McCall, the Sixth Circuit, like the other circuits that reached a similar

conclusion, will have to reexamine its position in light of § 1B1.13(b)(6). See United States v.

Stewart, __ F.4th __, 2023 WL 7509457, at *2 n.2 (3d Cir. Nov. 14, 2023) (noting that the court

may consider the effect of § 1B1.13(b)(6) “on the validity of Andrews” in an appropriate case);

United States v. Wilson, 77 F.4th 837, 841–42 (D.C. Cir. 2023) (explaining that it was unknown

whether a defendant’s legal-change-related claim “would constitute extraordinary and

compelling reasons under the not-yet-effective guidelines,” notwithstanding that court’s pre-

amendment caselaw); United States v. Williams, 65 F.4th 343, 347 (7th Cir. 2023) (explaining

that that court had erected categorical restrictions in the § 3582(c)(1)(A) context when there was

no policy statement, but other courts had refused to erect categorical restrictions, so “the issue is

teed up, and either the Commission or the [Supreme] Court (we hope) will address it soon”)

(emphasis added).

       Likewise, the pre-1B1.1.13(b)(6) opinions holding that legal changes could be considered

(e.g., McCoy, Chen) are also subject to change, because the new § 1B1.13(b)(6) is narrower than

what those circuit courts previously permitted—although there is no doubt that those circuits

would hold that § 1B1.13(b)(6) is valid. But the fact that at least four—really, five—circuit

courts have interpreted “extraordinary and compelling” to permit consideration of some legal

changes, in some circumstances, proves wrong the government’s claim that those terms are

unambiguously incapable of being read in this way.

                       b.      The courts cannot graft a non-textual categorical exclusion
                               onto § 3582(c)(1)(A).

       There is no other basis for reading categorical prohibitions into § 3582(c)(1)(A), beyond

the “rehabilitation alone” prohibition. As the Supreme Court held just last year: “It is only when



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Congress or the Constitution limits the scope of information that a district court may consider in

deciding whether, and to what extent, to modify a sentence, that a district court’s discretion to

consider information is restrained.” Concepcion v. United States, 142 S. Ct. 2389, 2396 (2022).

As the Ninth Circuit reasoned in Chen, “[s]ince Congress has not legislated to create a third

limitation on extraordinary and compelling reasons prohibiting district courts from considering

non-retroactive changes in sentencing law,” courts should not do so on their own. 48 F.4th at

1099; see also Concepcion, 142 S. Ct. at 2402 (“Drawing meaning from silence is particularly

inappropriate in the sentencing context, for Congress has shown that it knows how to direct

sentencing practices in express terms.”) (internal quotation marks and citation omitted).

                        c.      The First Step Act’s once-in-a-generation reductions in
                                sentencing ranges are capable of producing the sorts of
                                disparities that, in individual cases, can comfortably fit within
                                the terms “extraordinary and compelling.”

        First Step Act § 401 is precisely the sort of legal change capable of exposing a gross

disparity and, in appropriate cases, can be among the circumstances serving as “extraordinary

and compelling reasons” to reduce a sentence. The Sentencing Commission has recognized as

much. See U.S.S.G. App. C, Amend. 814, Reason for Amendment (Nov 1, 2023). Section 401 of

the First Step Act (along with its sister provision, § 403) is anything but ordinary: the Senate

Judiciary Committee called the First Step Act’s reforms “once-in-a-generation.” See U.S. Senate

Comm. on the Judiciary, Senate Passes Landmark Criminal Justice Reform (Dec. 18, 2018). 4          3F




Indeed, there hasn’t been a federal statute enacted within the past century that reduced

sentencing ranges as dramatically as the First Step Act.




    4
      Available at https://www.judiciary.senate.gov/press/rep/releases/senate-passes-landmark-criminal-
justice-reform.


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        What’s more, the amended §1B1.13(b)(6) does not apply to all cases affected by even

these profound legal changes. Section 1B1.13(b)(6) applies only to cases that are necessarily

unusual—where the defendant is serving an “unusually long sentence”—and the defendant can

show there is a “gross disparity.” And that’s not all: the defendant also must have already served

at least 10 years in prison 5 and must persuade the sentencing court that his particular case is
                           4F




“extraordinary and compelling” based on “full consideration of the defendant’s individualized

circumstances.” The government’s notion that the words “extraordinary” and “compelling” are

not capable of encompassing a person who meets this standard—such that § 1B1.13(b)(6) is

invalid on its face—is mistaken.

                2.      Section 3582(c)(1)(A)’s context reinforces the Sentencing
                        Commission’s authority to promulgate § 1B1.13(b)(6).

        The government next argues that § 3582(c)(1)(A)’s “context” confirms that

“extraordinary and compelling” cannot encompass intervening changes in law. (R.654, PageID#

7799-7800.) To the contrary, the most essential context for that standard is that Congress

expressly delegated to the Sentencing Commission, not to the government or the courts, the task

of “describ[ing] what should be considered extraordinary and compelling reasons for sentence

reduction, including the criteria to be applied and a list of specific examples.” § 994(t). With

§ 1B1.13, The Commission has fulfilled its duty under § 994(t) to describe what may be

considered “extraordinary and compelling,” including by providing that some unusual

circumstances that relate, in part, to legal changes can meet this standard. Under

§§ 3582(c)(1)(A) and 994(t), this is now the law.




   5
      Only 11.8% of federal defendants even get a prison sentence of 10 years or more. See
https://ida.ussc.gov/analytics/saw.dll?Dashboard.


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       In arguing that context supports its interpretation that changes in law can never form any

part of an “extraordinary and compelling” finding, the government entirely ignores this most

essential context and focuses, instead, on 18 U.S.C. § 3582(c)(2) and 28 U.S.C. § 2255. Its

argument appears to be that Congress must have meant for “extraordinary and compelling” not to

include changes in law, since otherwise it would render § 3582(c)(2) (the provision that governs

retroactive guideline amendments) irrelevant and it would conflict with § 2255 (the federal

habeas statute).

       As to § 3582(c)(2), there is an obvious distinction between § 3582(c)(1)(A) and

§ 3582(c)(2) that prevents the former from making the latter irrelevant: the former requires that

circumstances be extraordinary and compelling, while the latter does not. That is, with (c)(1)(A),

Congress authorized the Sentencing Commission to deem only extraordinary circumstances to be

bases for sentence reduction, and only when they involve the sort of inequity that would compel

a court to act. With (c)(2), Congress gave the Commission total control.

       As discussed above, most legal changes—indeed, most circumstances period—could not

be called “extraordinary” or “compelling.” Circumstances related to guideline amendments are

particularly unlikely to be “extraordinary and compelling,” given that the Sentencing Guidelines

are advisory and serve only to channel district courts’ discretion within a mandatory statutory

range. (This likely explains why the Sentencing Commission excepted its own amendments from

§ 1B1.13(b)(6), which the government criticizes.) With § 3582(c)(2), though, the Commission

has the authority to decide that even modest guideline amendments should be retroactively

applicable.

       As to § 2255, a motion for judicial sentence modification is wholly distinct from a motion

for relief from a conviction or sentence under § 2255. Section 3582(c)(1)(A) is a discretionary




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safety valve: if the requirements imposed by § 3582(c)(1)(A) and § 1B1.13 are met, and after

consideration of the § 3553(a) factors, a sentencing court has discretion to release the individual

from custody, reduce the sentence, or deny the motion entirely. Section 3582(c)(1)(A) does not

resolve claims of legal error, and it creates no entitlement to relief.

        In contrast, habeas corpus, which for federal prisoners is codified at § 2255, is “a means

of contesting the lawfulness of restraint and securing release.” Dep’t of Homeland Sec. v.

Thuraissigiam, 140 S. Ct. 1959, 1969 (2020); see also 28 U.S.C. § 2255(a) (providing a

mechanism for a federal prisoner to “claim[]the right to be released upon the ground that the

sentence was imposed in violation of the Constitution or laws of the United States, or that the

court was without jurisdiction to impose such sentence, or that the sentence was in excess of the

maximum authorized by law, or is otherwise subject to collateral attack”). That is, if the prisoner

proves that his continued detention is unlawful, he has a right to be released.

        This is not to say that an individual defendant might not file a § 3582(c)(1)(A) motion

that, in substance, is really a § 2255 motion. Then, too, an individual might file something

captioned under § 3582(c)(1)(A) that is really a § 1983 lawsuit, or a motion for bail, or just about

anything else. But in such a case, a court can dismiss the motion. And the present case is nothing

like a § 2255 motion. Patterson is asking for discretionary relief based on his unusually long

sentence, which involves a gross disparity resulting from a legal change that does not implicate

the validity of his sentence, and where individualized circumstances relating to Patterson and the

§ 3553(a) factors impacting his case all militate toward relief. No part of this claim falls within

the purview of § 2255 or any other mechanism for relief from unlawful detention.




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               3.      Section 1B1.13(b)(6) serves the purposes of § 3582(c)(1)(A), the
                       Sentencing Reform Act, and the Sentencing Commission itself.

       Section 3582(c)(1)(A) was enacted in 1984, as part of the Sentencing Reform Act (SRA),

which abolished parole and created a guideline-based sentencing scheme. The government

claims that permitting courts to reduce sentences based on the constellation of circumstances

required by §1B1.13(b)(6) would undermine the SRA. (R.654, PageID# 7801-02.) The

government’s idea seems to be that § 1B1.13(b)(6) runs counter to the SRA’s core purposes

because it functions too much like the old parole system and because it would create disparities

that the SRA was designed to reduce. But judicial sentence reduction is nothing like parole; and

the Commission, through § 1B1.13(b)(6), is seeking to reduce disparities. More fundamentally,

the government’s notion that § 1B1.13(b)(6) will not advance the SRA’s objectives is

quintessentially about policy. And Congress entrusted policy decisions in this arena to the

Sentencing Commission, not the government or the courts.

       Congress in 1984 would not have thought judicial sentence reductions, even if based in

part on a change in law, were akin to the parole system it was abolishing. Under the old system,

in most cases, a person became eligible for parole after serving one-third of the imposed

sentence, with the parole decision in the hands of an executive parole board, focused almost

exclusively on rehabilitation. Judicial sentence reduction is different: It keeps sentencing

decisions in the judiciary (one of the overarching goals of the SRA) and has “deep historical

roots” that are distinct from parole. Cecelia Klingele, Changing the Sentence Without Hiding the

Truth: Judicial Sentence Modification as a Promising Method of Early Release, 52 Wm. & Mary

L. Rev. 465, 498 (2010). Indeed, the Supreme Court approved of judicial sentence reduction

nearly a century ago. United States v. Benz, 282 U.S. 304, 311 (1931).




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       Prior to the SRA, federal law had two judicial sentence-reduction provisions: the old Fed.

R. Crim. P. 35 and 18 U.S.C. § 4205(g). These provisions operated differently, but each gave

sentencing courts broad authority to reduce sentences, including—contrary to the government’s

suggestion—based on legal, rather than purely factual, circumstances. 6 Section 3582(c)(1)(A) is
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narrower than the old Rule 35 or § 4205(g): there must be “extraordinary and compelling”

circumstances; any reduction must be consistent with Commission policy statements; and

rehabilitation alone is not enough. But the point is, given the existence of these mechanisms for

judicial reduction, the government is wrong to assume that Congress in 1984 would have thought

judicial sentence reduction that could, as a matter of discretion, relate to certain legal changes,

would in any way undermine its decision to abolish parole.

       As for the government’s concern about disparities, Congress entrusted to the Sentencing

Commission the authority to formulate policy with respect to the appropriate use of sentence

reductions to further the statutory purposes of sentencing, as set forth at 18 U.S.C. § 3553(a)(2).

§ 994(a)(2)(C). Congress would have also expected that those policies would be consistent with

the goal of reducing unwarranted disparities, § 991(b)(1)(B), and with the Commission’s purpose

“to establish sentencing policies and practices for the Federal criminal justice system that . . .

reflect, to the extent practicable, advancement in knowledge of human behavior as it relates to



   6
      See, e.g., United States v. Vaughn, 598 F.2d 336, 337 (4th Cir. 1979) (referring to the
district court’s grant of a Rule 35 motion based on the defendant’s “positive change” post-
sentencing); United States v. Noriega, 40 F. Supp. 2d 1378, 1380 (S.D. Fla. 1999) (reducing a
sentence under Rule 35 based on the “nature of the confinement” and “the considerable disparity
between Defendant’s sentence and the sentences actually served by his co-conspirators”); United
States v. Diaco, 457 F. Supp. 371, 376 (D.N.J. 1978) (reducing a sentence under § 4205(g) based
on disparities among co-defendants); see also United States v. Ellenbogen, 390 F.2d 537, 543 (2d
Cir. 1968) (“Rule 35 is intended to give every convicted defendant a second round before the
sentencing judge, and at the same time, it affords the judge an opportunity to reconsider the
sentence in the light of any further information about the defendant or the case which may have
been presented to him in the interim.”).


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the criminal justice process,” § 991(b)(1)(C). Section 1B1.13(b)(6) touches on all these

objectives, in focusing on “unusually long sentences” where there are “gross disparities” and

other changed circumstances that compel a court to reduce the sentence.

       The government suggests that § 1B1.13(b)(6) will increase unwarranted disparities.

(R.654, PageID# 7786.) This ignores reality: whatever differences in sentences might arise

because a judge reduces a previously imposed “unusually long sentence”—after the defendant

has served at least ten years of that sentence, because there is a “gross disparity,” and after full

consideration of the defendant’s individualized circumstances—will be minimal compared to the

disparity the government thinks must be locked-in. More to the point, though, this is a policy

debate. The government’s contentions do not inform the meaning of “extraordinary and

compelling”; the government just thinks that § 1B1.13(b)(6) is bad policy. But Congress tasked

the Sentencing Commission, not the government, with determining as a policy matter how courts

should use § 3582(c)(1)(A) to further the statutory purposes of sentencing. § 994(a)(2)(C) & (t).

       With § 1B1.13(b)(6), the Sentencing Commission discharged its duty with an eye toward

the SRA’s goals—and more particularly, the role of § 3582(c)(1)(A) within the larger Act.

Section 1B1.13(b)(6)’s reference to “unusually long sentences” comes straight from S. Rep. No.

98-225, in which the SRA’s Senate drafters explained that the proposed § 3582(c)(1)(A) would

apply in “unusual cases in which an eventual reduction in the length of a term of imprisonment is

justified by changed circumstances,” including not only “cases of severe illness” but also “cases

in which other extraordinary and compelling circumstances justify a reduction of an unusually

long sentence.” S. Rep. No. 98-225, at 55–56, 121; see also USSG App. C, Amend. 814, Reason

for Amendment (Nov 1, 2023) (citing this language).




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       The government criticizes the Commission’s citation to this Senate report, arguing that

the Commission “elevate[d] that single sentence” (about cases in which non-medical

circumstances justify the reduction of an unusually long sentence) above the SRA’s “plain text

and overarching purpose.” (R.654, PageID# 7803.) But as discussed above, there’s no text that

restricts what can be “extraordinary and compelling” other than “rehabilitation alone.” See 28

U.S.C. § 994(t). And while the larger SRA abolished parole and created a new guideline-based

sentencing scheme, it is clear (with or without the Senate Report) that the specific purpose of

§ 3582(c)(1)(A) within the larger Act was to serve as a safety valve for post-sentencing

inequities that might arise out of the new, as-yet-untested guideline sentencing scheme.

       Beyond the SRA, the government appears to claim that the First Step Act’s amendments

to § 3582(c)(1)(A) support its position. The government suggests that because Congress’s 2018

amendments to that section were procedural rather than substantive, this somehow locked-in the

§ 1B1.13 criteria that were in place before the amendment. But pre-First Step Act, § 1B1.13

granted courts more discretion than it does now: the Commission’s description of “extraordinary

and compelling reasons” included literally any “other reasons” that the Director of the Bureau of

Prisons determined were extraordinary and compelling. U.S.S.G. § 1B1.13, n.1(D) (2018). True,

the BOP neglected its authority to file sentence-reduction motions under the “other reasons”

provision (and also, any other part of § 1B1.13). But the Commission has long recognized that

§ 3582(c)(1)(A) is capable of a broad, adaptable reach. Contrary to the government’s suggestion,

its “extraordinary and compelling” standard is no “mousehole.” (R.654, PageID# 7804.)

       Patterson is not claiming that the First Step Act bestowed new authority on the

Sentencing Commission. But neither did it restrict the Commission’s authority, established by

the SRA, to describe what could be considered “extraordinary and compelling reasons,” and to




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review and revise its description, § 994(o), (t); to resolve circuit splits, § 994(o); to establish

policies and practices that promote the statutory purposes of sentencing, § 991(b)(1)(A); and to

reflect, to the extent practicable, advancement in knowledge of human behavior as it relates to

the criminal justice process, § 994(b)(1)(C). That is what the Commission has done in

promulgating §1B1.13, including subsection (b)(6).

                4.      Nothing else invalidates § 1B1.13(b)(6) generally or precludes its
                        application to a claim involving FSA § 401—not § 401 itself, not
                        background principles relating to retroactivity, and not separation-of-
                        powers principles.

        The government’s arguments are generally couched in the language of textualism, aimed

at persuading this Court that the words “extraordinary and compelling” can never encompass

circumstances related to legal changes, in service of the government’s claim that § 1B1.13(b)(6)

is invalid on its face. But several of the government’s arguments aren’t really about

§ 3582(c)(1)(A) or even about § 1B1.13(b)(6) in a general, facial sense. Really, they go to

whether some other law prohibits the court from applying § 1B1.13(b)(6) to a case like this one,

where the gross disparity is related to an amendment to a statutory sentencing range. Even if the

government were correct, this would not invalidate § 1B1.13(b)(6). But also, the government is

mistaken.

        First, the government suggests that the First Step Act itself prohibits application of the

new § 1B1.13(b)(6) to cases involving gross disparities related to FSA amendments—relevant

here, FSA § 401. (R.654, PageID# 7806.) But the Act says nothing about retroactivity. To be

sure, § 401’s applicability statement provides that the amendment is effective as of its enactment

date. § 401(c). Patterson, however, is not claiming that § 401 applies to his case—if he were, he

would not be filing a § 3582(c)(1)(A) motion. Nor is he claiming that, under § 1B1.13(b)(6), a

court could declare any legal change (standing alone) to be an “extraordinary and compelling”



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reason to reduce a sentence. And nothing in § 401 touches on a court’s ability to consider the

impact of § 401 on individuals to whom it does not apply—in the context of a discretionary

sentence-reduction motion or anything else (e.g., original sentencing proceeding in another case,

revocation proceeding).

       The government also evokes the general federal saving statute, 1 U.S.C. § 109, but § 109

is irrelevant. (R.654, PageID# 7798.) Section 109 has been interpreted to provide that an

ameliorative penalty statute does not abate sentences for offenses committed prior to the statute’s

enactment, unless the statute indicates otherwise. See Dorsey v. United States, 567 U.S. 260,

273–75 (2012). In other words, an ameliorative statute does not automatically apply to sentences

already imposed. But the new § 1B1.13(b)(6) does not permit courts to apply an ameliorative

statute to a sentence already imposed. Again, it does not even declare that an ameliorative

statute—or any other legal change—can, on its own, amount to an extraordinary and compelling

basis for sentencing relief. It just permits certain kinds of changes to factor into a larger

discretionary analysis. And the saving statute says nothing at all about whether a court may find

that individualized circumstances relating to an unusually long sentence, when combined with

the fact that a legal change resulted in a gross disparity impacting the case, present an

extraordinary and compelling reason to reduce the sentence.

       Finally, the government contends that § 1B1.13(b)(6) is in “tension” with separation-of-

powers principles—at least, as applied to a case like this one, which relates in part to a statutory

sentencing change. (R.654, PageID# 7804.) But Congress enacted § 3582(c)(1)(A) and the

President signed it into law. So, reducing a lawful sentence as permitted by § 3582(c)(1)(A)

cannot violate separation-of-powers principles any more than reducing a sentence as permitted

by Rule 35 or the former § 4205, or any other duly enacted sentence-reduction statute. Really,




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the government’s separation-of-powers argument is just a rehash of its argument that one statute,

FSA § 401, forbids courts from even considering the impact of that statute when applying

another statute, § 3582(c)(1)(A), to a case like this one. Two paragraphs ago, this brief explained

that § 401 does no such thing. Thus, just as there is no conflict between § 401(c) and

§ 1B1.13(b)(6), there is also no separation-of-powers problem.

               5.      Summation

       As the government concedes, § 1B1.13 has the binding force of law. And, as just

explained, subsection (b)(6) is valid. The Court should apply it and find Patterson eligible for

relief under it. Indeed, the government implicitly concedes Patterson is eligible under the terms

of § 1B1.13(b)(6). Not only is his sentence grossly disproportionate to the one he would receive

today, but his sentence is the harshest possible non-capital punishment, and he has served as a

model inmate for more than a decade. His circumstances warrant a reduction.

III.   The § 3553(a) factors support a sentence of time served.

       Patterson has set forth a detailed rationale for a reduction to time served in light of all the

changes that the Court is certainly entitled to consider in the exercise of its discretion under

§ 3553(a). See Concepcion, 142 S. Ct. at 2402. In response, the government acknowledges that

Patterson’s mandatory minimum for the drug offense would be just 10 years today, not life,

followed by a mandatory 5 years for the § 924(c) offense from the 2009 charge. (R.654, PageID#

7808, 7812.) And, notably, the government stops short of claiming that a life sentence is

necessary to satisfy the § 3553(a) factors.

       The government does harp on the harmful aspects of Patterson’s criminal activity, but

nonviolent drug dealing does not mandate a life sentence. Certainly, the conduct of Bassim

Fardos and Robert Bell was far worse than Patterson’s, and John Banks’s conduct was very




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similar, yet the government agreed to much shorter sentences in their cases. Indeed, the

government agreed to a far shorter sentence for Patterson himself—perhaps as short as 17

years—that belies the argument that § 3553(a) factors require him to remain in prison longer.

Factoring in good-time credits, he has already served a federal sentence of 17.4 years. And his

extremely impressive performance for all those years in prison is a very good reason to conclude

that even the 17-year plea bargain offered prior to his rehabilitation was too harsh. Patterson has

shown he can turn his life around and that he deserves a second chance where he can prove

himself to his family.

                                            Conclusion

       Adrian Patterson respectfully asks that the Court find sufficient reason to reduce his life

sentence under 18 U.S.C. § 3582(c)(1), and that the Court reduce that sentence time served or to

the term the Court deems appropriate.

                                              Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on November 20, 2023, I electronically filed this pleading with the
U.S. District Court Clerk by using the CM/ECF system, which will send a Notice of Electronic
Filing to Monica Morrison, Assistant United States Attorney, Office of the U.S. Attorney, 719
Church Street, Suite 3300, Nashville, Tennessee, 37203.

                                              s/ Michael C. Holley
                                              MICHAEL C. HOLLEY




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